                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  STATESVILLE DIVISION
                          CIVIL ACTION NO. 5:13-CV-00110-KDB-DSC

        UNITED STATES ex rel.
        LIUBOV SKIBO, et al.,

                Plaintiffs,

                v.                                                ORDER

        GREER LABORATORIES, INC.,

                Defendant.



       On October 23, 2019 Defendant Greer Laboratories, Inc. (“Greer”) filed a Motion for

Attorney Fees and Expenses. See Doc. No. 184. More specifically, the motion asks the Court to

enter an Order that Greer is entitled, pursuant to Fed. R. Civ. P. 54(d)(2), 31 U.S.C. § 3730(d)(4),

and 28 U.S.C. § 1927, to attorneys’ fees and expenses reasonably incurred in defense of this case

from at least the close of discovery to the “present” because Relators’ allegations were clearly

frivolous, vexatious, and harassing. Id. The motion does not, however, seek a specific amount of

attorneys’ fees; rather, Greer requests that the Court establish a schedule for further submissions

regarding the precise amounts of the fees and expenses to be awarded.

       Rule 54 (d)(2)(B)(iii) of the Federal Rules of Civil Procedure requires that a claim for

attorneys’ fees must “state the amount sought or provide a fair estimate of it ….” Moreover, with

the Fourth Circuit Court of Appeals having now clearly decided Plaintiff’s appeal of the Court’s

grant of summary judgment to Defendant, see Doc. No. 196, it is appropriate for the Court to give

the parties an opportunity to reconsider their respective positions and determine if they are able to

reach a resolution of the attorneys’ fees issue without the need for the Court to decide a contested



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motion. Accordingly, the Court will direct the parties to meet and confer in a good faith attempt to

resolve the pending motion for attorneys’ fees. Further, in the event such efforts are unsuccessful,

the Parties shall submit to the Court their positions on the amount of attorneys’ fees that should be

awarded on the schedule set forth below.

                                              ORDER

       NOW THEREFORE IT IS ORDERED THAT:

           1. On or before January 27, 2021, Plaintiffs and Defendant shall meet and confer in a

               good faith attempt to resolve the pending motion for attorneys’ fees, Doc. No. 184,

               and notify the Court of the results of their efforts; and

           2. In the event those negotiations are unsuccessful, the Parties shall brief their

               respective positions solely on the amount of fees and expenses to be awarded as

               follows:

                   a. Defendant’s initial brief is due on or before February 2, 2021;

                   b. Plaintiff’s response is due on or before February 16, 2021; and

                   c. Defendant’s reply is due February 23, 2021.



       SO ORDERED ADJUDGED AND DECREED.


                                   Signed: January 11, 2021
                           2021




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